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                        THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO



  Civil Action No. 1:17-cv-02643-WYD-MEH

  BODYGUARD PRODUCTIONS, INC.,

                Plaintiff,

         v.

  JOHN DOES 1-9, 11-21,

                Defendants.


           NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
       OF DEFENDANTS JOHN DOE 1, JOHN DOE 2, JOHN DOE 3, JOHN DOE 4,
         JOHN DOE 5, JOHN DOE 6, JOHN DOE 7, JOHN DOE 8, JOHN DOE 9,
       JOHN DOE 11, JOHN DOE 12, JOHN DOE 13, JOHN DOE 14, JOHN DOE 15,
     JOHN DOE 16, JOHN DOE 17, JOHN DOE 18, JOHN DOE 19, JOHN DOE 20, AND
                         JOHN DOE 21 AND THE CASE
                    PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(i)



         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), and law, there being no responsive pleadings

  yet filed by either Defendant John Doe 1, Defendant John Doe 2, Defendant John Doe 3,

  Defendant John Doe 4, Defendant John Doe 5, Defendant John Doe 6, Defendant John Doe 7,

  Defendant John Doe 8, Defendant John Doe 9, Defendant John Doe 11, Defendant John Doe 12,

  Defendant John Doe 13, Defendant John Doe 14, Defendant John Doe 15, Defendant John Doe

  16, Defendant John Doe 17, Defendant John Doe 18, Defendant John Doe 19, Defendant John

  Doe 20, or Defendant John Doe 21, as identified in Exhibit 1 attached to the Complaint in the

  above-captioned action, the Plaintiff hereby voluntarily dismisses Defendants John Doe 1, John
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  Doe 2, John Doe 3, John Doe 4, John Doe 5, John Doe 6, John Doe 7, John Doe 8, John Doe 9,

  John Doe 11, John Doe 12, John Doe 13, John Doe 14, John Doe 15, John Doe 16, John Doe 17,

  John Doe 18, John Doe 19, John Doe 20, and John Doe 21, as identified in Exhibit 1 attached to

  the Complaint in the above-captioned action, and the above-captioned Action, without prejudice.

                                               DATED this 25th day of January, 2018.

                                               Respectfully submitted,



                                               /s/ David J. Stephenson, Jr.
                                               David J. Stephenson, Jr.
                                               5310 Ward Rd., Suite G-07
                                               Arvada, CO 80002
                                               Telephone: (303) 726-2259
                                               Facsimile: (303) 362-5679
                                               E-Mail: david.thunderlaw@gmail.com
                                               Attorney for the Plaintiff


                                     CERTIFICATE OF SERVICE

        I hereby certify that on January 25, 2018, I electronically filed the foregoing document with
  the Clerk of the Court using CM/ECF and that service was perfected on all counsel of record and
  interested parties through this system.

                                                      By: /s/ David J. Stephenson, Jr.




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